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       In the United States Court of Federal Claims
  Nos. 18-204C, 18-206C, 18-207C, 18-208C, 18-211C, 18-214C, 18-216C, 18-220C,
18-229C, 18-238C, 18-239C, 18-245C, 18-246C, 18-248C, 18-251C, 18-252C, 18-261C,
                                     18-275C
                                  (consolidated)

                                (Filed: February 22, 2018)

************************************** *
                                           *
FMS INVESTMENT CORP., et al.,              *
                                           *
                    Plaintiffs,            *
                                           *
v.                                         *
                                           *
THE UNITED STATES,                         *
                                           *
                    Defendant,             *
                                           *
and                                        *
                                           *
PERFORMANT RECOVERY, INC., et al.,         *
                                           *
                    Defendant-Intervenors. *
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             TWELFTH AMENDMENT TO CONSOLIDATION ORDER

       On February 13, 2018, the Court entered an order consolidating the related cases of
FMS Investment Corp. v. United States, No. 18-204C, Account Control Technology, Inc.
v. United States, No. 18-206C, Transworld Systems, Inc. v. United States, No. 18-207C,
GC Services Limited Partnership v. United States, No. 18-208C, Texas Guaranteed Student
Loan Corp. v. United States, No. 18-211C, and The CBE Group, Inc. v. United States, No.
18-214C. On February 14, 2018, the Court entered orders consolidating the related cases,
Pioneer Credit Recovery, Inc. v. United States, No. 18-216C, Progressive Financial
Services, Inc. v. United States, No. 18-220C, and Coast Professional, Inc. v. United States,
No. 18-229C with the FMS Investment Corp. case.
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      On February 16, 2018, the Court entered orders consolidating the related cases,
Central Credit Services, LLC v. United States, No. 18-238C, Delta Management
Associates, Inc. v. United States, No. 18-239C, Gatestone & Co. International, Inc. v.
United States, No. 18-245C, Continental Service Group, Inc. v. United States, No. 18-
246C, and Immediate Credit Recovery, Inc. v. United States, No. 18-248C with the FMS
Investment Corp. case.

       On February 20, 2018, the Court entered orders consolidating the related cases,
Allied Interstate LLC v. United States, No. 18-251C, Automated Collection Services, Inc.
v. United States, No. 18-252C, and Collecto, Inc. d/b/a EOS CCA v. United States, No. 18-
261C with the FMS Investment Corp. case.

       On February 22, 2018, Williams & Fudge, Inc. filed a Complaint in a related case,
Williams & Fudge, Inc. v. United States, No. 18-275C. The newly filed Williams & Fudge
case has factual and legal commonalities to the FMS Investment Corp. case and concerns
the same solicitation.

       Accordingly, Williams & Fudge, Inc. v. United States, No. 18-275C is hereby
consolidated under the lead case, FMS Investment Corp. v. United States, No. 18-204C.

      IT IS SO ORDERED.

                                                      s/ Thomas C. Wheeler
                                                      THOMAS C. WHEELER
                                                      Judge




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